          IN THE UNITED STATES DISTRICT COURT FOR THE
                  WESTERN DISTRICT OF MISSOURI
                        WESTERN DIVISION

UNITED STATES OF AMERICA,        )
                                 )
                Plaintiff,       )
                                 )
     v.                          ) Criminal Action No.
                                 ) 05-00344-02-CR-W-ODS
STEVEN SANDSTROM,                )
                                 )
                Defendant.       )
             ORDER GRANTING MOTION TO SEVER COUNTS

     Before the court is defendant’s motion to sever counts

one through six from counts seven and eight, and also from

count nine on the ground that they are improperly joined.                I

find that the offenses charged in counts seven through nine

of the indictment are not, on the face of the indictment,

alleged to be part of the same series of acts or

transactions; therefore, defendant’s motion will be granted.
I.   BACKGROUND

     On September 29, 2005, an indictment was returned

charging defendant with two counts of interference with
federally protected activities, in violation of 18 U.S.C. §

245(b)(2)(B); one count of using or discharging a firearm

during a crime of violence, in violation of 18 U.S.C. §

924(c)(1)(A)(iii); two counts of using or discharging a

firearm during a crime of violence causing murder, in

violation of 18 U.S.C. §§ 924(c)(1)(A)(iii) and (j)(1); one

count of tampering with a witness, in violation of 18 U.S.C.

§§ 1512(a)(1)(C) and (a)(3)(A); one count of obstruction of




 Case 4:05-cr-00344-DGK   Document 110   Filed 04/27/06   Page 1 of 10
justice, in violation of 18 U.S.C. § 1519; one count of

using fire to commit a felony, in violation of 18 U.S.C. §

844(h)(1); and one count of threatening to retaliate against

a federal witness, in violation of 18 U.S.C. § 1513(b)(2).

Co-defendant Gary Eye is charged with all of these offenses

except the last, the retaliation count.

      On March 14, 2006, defendant Sandstrom filed a motion

to sever counts on the grounds that the three sets of counts

are improperly joined since they are not part of the same

series of acts or transactions, and that even if properly

joined, they should be severed because he will suffer

prejudice due to the absence of a racial motive in the

latter counts (document number 62).

      On April 14, 2006, the government filed a response in

opposition to the motion, arguing that all of the counts are
based on the same acts or transactions constituting parts of

a common scheme or plan (document number 102).            The

government argues that all counts except nine occurred on

the same day, and even in a separate trial, the government

would offer evidence of count nine to show consciousness of

guilt.
II.   JOINDER

      Rule 8, Federal Rules of Criminal Procedure,

establishes the requirements for joinder of offenses or

defendants in the same indictment.       The objective of Rule 8

                                 2




 Case 4:05-cr-00344-DGK   Document 110   Filed 04/27/06   Page 2 of 10
is to balance the prejudice inherent in joint trials against

the interests in judicial economy.       Whether counts are

properly joined under Rule 8 is a question of law.            United

States v. Rodgers, 732 F.2d 625, 628 (8th Cir. 1984).             The

propriety of joinder must appear on the face of the

indictment.   United States v. Wadena, 152 F.3d 831, 848 (8th

Cir. 1998), cert. denied, 526 U.S. 1050 (1999); United

States v. Bledsoe, 674 F.2d 647, 655 (8th Cir.), cert.

denied, 459 U.S. 1040 (1982).        See also United States v.

Grey Bear, 863 F.2d 572, 573-578 (8th Cir. 1988) (en banc)

(statement of Lay, J.), cert. denied, 493 U.S. 1047 (1990).

     Unless all defendants are charged in all counts of the

indictment, joinder of offenses in multiple-defendant cases

is judged by Rule 8(b)1 rather than 8(a).         United States v.

Southwest Bus Sales, 20 F.3d 1449, 1454 (8th Cir. 1994).

This is significant because the language of Rule 8(a) does

not allow joinder on the same basis as 8(b); the words “same

or similar character” are omitted from 8(b).           The rationale
for applying 8(b) rather than 8(a) in multiple defendant

cases is stated in United States v. Jones, 880 F.2d 55, 61


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       Two or more defendants may be charged in the same
indictment or information if they are alleged to have
participated in the same act or transaction or in the same
series of acts or transactions constituting an offense or
offenses. Such defendants may be charged in one or more
counts together or separately and all of the defendants need
not be charged in each count.

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 Case 4:05-cr-00344-DGK   Document 110    Filed 04/27/06   Page 3 of 10
(8th Cir. 1989):

     When similar but unrelated offenses are jointly charged
     to a single defendant, some prejudice almost
     necessarily results, and the same is true when several
     defendants are jointly charged with a single offense or
     related offenses. Rule 8(a) permits the first sort of
     prejudice and Rule 8(b) the second. But the Rules do
     not permit cumulation of prejudice by charging several
     defendants with similar but unrelated offenses.

(citing Cupo v. United States, 359 F.2d 990 (D.C. Cir.

1966), cert. denied, 385 U.S. 1013 (1967)).           Therefore,

there are definite limits to what the government can put

together in a single indictment.         United States v. Nicely,
922 F.2d 850, 853 (D.C. Cir. 1991).

     For joinder of defendants under Rule 8(b) to be proper,

there must be some common activity involving all of the

defendants which embraces all the charged offenses even

though every defendant need not have participated in or be

charged with each offense.     United States v. Gravatt, 280

F.3d 1189, 1191 (8th Cir. 2002); United States v. Sazenski,

833 F.2d 741, 745 (8th Cir. 1987), cert. denied, 485 U.S.
906 (1988).   Furthermore, to be part of the “same series of

acts,” the offenses charged must be part of one overall

scheme about which all joined defendants knew and in which

they all participated.”     Id.; United States v. Bledsoe, 674

F.2d 647, 656 (8th Cir.), cert. denied, 459 U.S. 1040

(1982).   Rule 8(b)’s language “may not be read to embrace

similar or even identical offenses, unless those offenses


                                 4




 Case 4:05-cr-00344-DGK   Document 110     Filed 04/27/06   Page 4 of 10
are related. . . .    [T]here must be a logical relationship

between the acts or transactions within the series.”            United

States v. Nicely, 922 F.2d at 853 (quoting United States v.

Perry, 731 F.2d 985, 990 (D. C. Cir. 1984)).

     The government argues that counts one through six

involve activity resulting in the assault and murder of

William McCay, counts seven and eight involve the burning of

the vehicle occupied by the defendants during the murder,

and count nine involves threatening a person for providing

information about “a federal offense”, i.e., the murder, and

the threat occurred four and a half months after the murder.

The defendant acknowledges that the government’s discovery

appears to support its argument of a series of acts or

transactions; however, the indictment itself does not.

     In the Eighth Circuit, the current rule of law is that

whether joinder is proper must be determined from the face

of the indictment.    United States v. Wadena, 152 F.3d 831,
848 (8th Cir.), cert. denied, 526 U.S. 1050 (1998).            That
issue was the subject of a split decision in United States

v. Grey Bear, 863 F.2d 572 (8th Cir. 1998) (en banc) (5-5

decision), where five judges believed that the face of the

indictment is where the analysis stops and five judges

believed that under certain circumstances, the courts should

be able to look beyond the face of the indictment.           To date,

the Eighth Circuit Court of Appeals has not amended the

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 Case 4:05-cr-00344-DGK   Document 110   Filed 04/27/06   Page 5 of 10
requirement that proper joinder be evident from the face of

the indictment, although several other circuits allow the

courts to look beyond the face of the indictment.            See

United States v. Tubol, 191 F.3d 88, 95 (2nd Cir. 1999)

(joinder is proper when same evidence will support both of

joined counts); United States v. Cardwell, 433 F.3d 378, 385

(4th Cir. 2005) (court looks to evidence presented at

severance hearing, or allegations in indictment and evidence

presented at trial), cert. denied, 126 S. Ct. 1669 (2006);
United States v. Morales, 108 F.3d 1213, 1219 (10th Cir.

1997) (courts may look to evidence to determine proper

joinder); United States v. Gbemisola, 225 F.3d 753, 760

(D.C. Cir.) (courts may look to evidence to determine proper

joinder), cert. denied, 531 U.S. 1026 (2000).             Cf. United

States v. Fenton, 367 F.3d 14, 21 (1st Cir. 2004) (face of

indictment); United States v. McGill, 964 F.2d 222, 241 (3rd

Cir.) (face of indictment), cert. denied, 506 U.S. 1023

(1992); United States v. Butler, 429 F.3d 140, 146 (5th Cir.
2005) (face of the indictment), petition for cert. filed,

(April 11, 2006, No. 05-1308); United States v. Chavis, 296

F.3d 450, 456-457 (6th Cir. 2002) (face of the indictment);

United States v. Lanas, 324 F.3d 894, 899 (7th Cir.) (face

of the indictment), cert. denied, 540 U.S. 882 (2003);

United States v. Rousseau, 257 F.3d 925, 931 (9th Cir. 2001)

(face of the indictment), cert. denied, 534 U.S. 1013

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 Case 4:05-cr-00344-DGK   Document 110   Filed 04/27/06    Page 6 of 10
(2001); United States v. Dominguez, 226 F.3d 1235, 1238

(11th Cir. 2000) (face of the indictment), cert. denied, 532

U.S. 1039 (2001).

     In this case, counts seven, eight, and nine of the

indictment are not alleged in the indictment to be part of

the same series of acts or transactions as counts one

through six.   The last three counts of the indictment read

as follows:

     COUNT SEVEN:
     On or about March 9, 2005, in Kansas City, Jackson
     County, in the Western District of Missouri,
     defendants, GARY EYE and STEVEN SANDSTROM, while aiding
     and abetting one another, knowingly altered, destroyed,
     and mutilated a tangible object, namely a 2003 Dodge,
     with the intent to impede, obstruct, and influence the
     possible investigation of a matter and matters within
     the jurisdiction of a department or agency of the
     United States. All in violation of Title 18, United
     States Code, Section 1519, and Section 2.

     COUNT EIGHT:
     On or about March 9, 2005, in Kansas City, Jackson
     County, in the Western District of Missouri,
     defendants, GARY EYE and STEVEN SANDSTROM, while aiding
     and abetting one another, knowingly used fire to commit
     a felony prosecutable in a court of the United States,
     namely the offense charged in Count Seven of this
     Indictment and incorporated herein by reference. All
     in violation of Title 18, United States Code, Section
     844(h)(1), and Section 2.

     COUNT NINE:
     On or about July 31, 2005, in Kansas City, Jackson
     County, in the Western District of Missouri, defendant
     STEVEN SANDSTROM did knowingly engage in conduct and
     thereby threatened to cause bodily injury to another
     person with the intent to retaliate against that person
     for information relating to the commission or possible
     commission of a federal offense given by that person to
     a law enforcement officer. All in violation of Title
     18, United States Code, Section 1513(b)(2).

                                 7




 Case 4:05-cr-00344-DGK   Document 110   Filed 04/27/06   Page 7 of 10
     Although it could have, the indictment does not allege

in counts seven and eight that the investigation of matters

within the jurisdiction of the United States were actually

the matters charged in counts one through six.            The

government states that its evidence will prove such, but

because proper joinder must be evident from the face of the

indictment, I am limited to the words reprinted above.

Those words do not incorporate or refer to counts one

through six, and no where in counts one through six does the

indictment refer to a 2003 Dodge, and therefore I am unable

to determine from the face of the indictment that counts six

and seven are related to counts one through six.

     The same is true for count nine.       A variety of courts

have sanctioned joinder of underlying substantive charges

with additional charges arising out of post-charge or
post-investigation conduct calculated to hinder prosecution

or escape liability on the original charges.          See United
States v. Carnes, 309 F.3d 950, 957-958 (6th Cir. 2002)
(holding joinder of witness tampering count with underlying

felon-in-possession charge was proper); United States v.

Balzano, 916 F.2d 1273, 1280 (7th Cir. 1990) (holding

joinder of witness intimidation count with conspiracy and

extortion counts was proper because intimidation amounted to

attempt to cover up or escape liability for underlying

offenses and, thus, “was clearly part and parcel of the same

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 Case 4:05-cr-00344-DGK   Document 110   Filed 04/27/06   Page 8 of 10
criminal scheme”); United States v. Chagra, 754 F.2d 1186,

1188 (5th Cir. 1985) (holding counts alleging obstruction of

justice and possession with intent to distribute marijuana

were properly joined with conspiracy and murder counts where

former acts were committed for purpose of avoiding

punishment for latter); United States v. Davis, 752 F.2d

963, 972 (5th Cir. 1985) (joinder of obstruction of justice

count with underlying mail fraud and false statements counts

proper where evidence of fraud tended to establish motive

for obstruction of justice and, similarly, evidence of

obstruction, i.e., failure to produce subpoenaed documents

and alleged interference with witness, tends to establish

defendant’s guilty consciousness of underlying substantive

offenses); see also United States v. Kaler, 2001 WL 303349,
at *2 (6th Cir. March 20, 2001) (unpublished opinion)

(holding escape or failure to appear charge and underlying

offense are “connected together” and properly joined under

Rule 8(a) if charges are related in time, motive for flight
was avoidance of prosecution of the underlying offense, and

custody derived directly from the underlying offense).

     Although the government is certainly able to join the

witness retaliation count with the other counts if it so

chooses, the indictment must somehow refer to the other

counts so that the court is able to make a determination



                                 9




 Case 4:05-cr-00344-DGK   Document 110   Filed 04/27/06   Page 9 of 10
from the face of the indictment that the counts are part of

the same series of acts or transactions.
III. CONCLUSION

        Because it is impossible to tell from the face of the

indictment that all of the offenses charged are part of the

same series of acts or transactions, I find that counts one

through six are improperly joined with counts seven and

eight, and those counts are improperly joined with count

nine.    Therefore, it is

        ORDERED that defendant’s motion to sever counts one

through six from counts seven and eight and from count nine

is granted.

        Counsel are reminded that objections to this order on

the ground that it is clearly erroneous or contrary to law

must be filed and served within ten days.



                                   /s/ Robert E. Larsen
                                  ROBERT E. LARSEN
                                  United States Magistrate Judge

Kansas City, Missouri
April 27, 2006




                                 10




 Case 4:05-cr-00344-DGK   Document 110   Filed 04/27/06   Page 10 of 10
